Case 5:21-cv-00865-MRA-PVC Document 122 Filed 05/31/24 Page 1 of 1 Page ID #:1418
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    8                           UNITED STATES DISTRICT COURT
    9                         CENTRAL DISTRICT OF CALIFORNIA
   10

   11    PAUL D. CARR,                                Case No. EDCV 21-0865 MRA (PVC)
   12                         Plaintiff,
   13          v.                                                 JUDGMENT
   14    DR. SHERIF ABDOU,
   15                         Defendant.
   16

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   18         Pursuant to the Court’s Order Accepting Findings, Conclusions, and
   19   Recommendations of United States Magistrate Judge, IT IS HEREBY ADJUDGED that
   20   the above-captioned action is dismissed with prejudice.
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   22   Dated: May 31, 2024
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                                                      MÓNICA RAMÍREZ ALMADANI
   24                                                 UNITED STATES DISTRICT JUDGE
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